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 9   STEVEN A. SUGARMAN
10
                          UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12
13   In re BANC OF CALIFORNIA                   Case No.: 8:17-cv-00118-DMG (DFMx)
14   SECURITIES LITIGATION
15                                              CLASS ACTION
16   This Document Relates To:
17                                              DECLARATION OF STEVEN
           ALL ACTIONS.                         SUGARMAN
18
19
20
21                     DECLARATION OF STEVEN SUGARMAN
22         I, Steven Sugarman, hereby declare as follows:
23         1.     I am currently, and all relevant times been over the age of 18 years old.
24   The facts set forth below are based on my personal knowledge and if properly called
25   to testify as a witness, I could and would competently testify thereto.
26                             Abiding By the Protective Order
27         2.     On or around February 22, 2019, Charles Lee issued a report regarding
28   his opinion as to what caused the stock price to decline on October 18, 2016 when

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                            DECLARATION OF STEVEN SUGARMAN
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 1   the SeekingAlpha.com website published a blog post about Banc of California (“Lee
 2   Report”).
 3         3.     I have searched for all copies of the Lee Report in my possession,
 4   including hard copies, electronic copies, and any summaries thereof. Pursuant to
 5   Section IX, I have destroyed any copies of the Lee Report in my possession and
 6   affirm that no copies, abstracts, compilation, summaries, or any other format
 7   reproducing or capturing the Lee Report are in my possession.
 8         4.     Pursuant to Section VI of the Protective Order, I, through my counsel,
 9   notified any third parties who may have received a copy of the Lee Report. Out of an
10   abundance of caution, I have notified all persons identified by Adam Levine as
11   having potentially received the Lee Report. I have requested that any third parties
12   who received the Lee Report execute the Agreement to Be Bound by the Protective
13   Order (Exhibit A) as well as destroy any copies they may have received.
14         5.     I, through my counsel, made best efforts to follow up with said third
15   parties in the event a response was not received.
16
17         I declare under penalty of perjury under the laws of the United States that the
18   foregoing is true and correct.
19
20
21   Executed on _________________________, at Los Angeles, California.
22
23
24
                                                  Steven Sugarman
25
26
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28

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                            DECLARATION OF STEVEN SUGARMAN
